               Case 18-10018-KKS         Doc 62    Filed 03/13/18      Page 1 of 3



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

In re:

PRIORIA ROBOTICS, INC.,                              Chapter 7

               Debtor.                               CASE NO.: 18-10018-KKS
                                     /

                                 NOTICE OF APPEARANCE

         COMES NOW Linda J. Z. Young of the law firm of BUCHANAN INGERSOLL &
ROONEY PC, and files this Notice of Appearance as counsel for CONDOR AERIAL, LLC
and hereby requests that copies of all future pleadings and notices that CONDOR AERIAL,
LLC is entitled to receive be sent to the undersigned:
                                LINDA J. Z. YOUNG, ESQ.
                              Buchanan Ingersoll & Rooney PC
                                 SunTrust Financial Centre
                               401 E. Jackson St., Suite 2400
                                   Tampa, Florida 33602
                                    Tel: (813) 222-3327
                                    Fax: (813) 222-8189
                                  Linda.young@bipc.com

                                             Respectfully submitted,

                                             /s/ Linda J. Z. Young
                                             Linda J. Z. Young
                                             Florida Bar No: 093160
                                             Scott A. Underwood
                                             Florida Bar No. 0730041
                                             BUCHANAN INGERSOLL & ROONEY PC
                                             SunTrust Financial Centre
                                             401 E. Jackson St., Suite 2400
                                             Tampa, FL 33602
                                             Tel: (813) 222-8180
                                             Fax: (813) 222-8189
                                             Email: linda.young@bipc.com
                                                     scott.underwood@bipc.com
                                             Attorneys for Condor Aerial, LLC
               Case 18-10018-KKS          Doc 62    Filed 03/13/18   Page 2 of 3



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the foregoing, that was filed with

the Clerk of Court, has been furnished to those parties registered to receive service via CM/ECF

and by U.S. Mail to the following, on March 13, 2018:

Debtor
Prioria Robotics, Inc.
P.O. Box 358920
Gainesville, FL 32635-8920

Counsel for Debtor
Jodi Daniel Cooke
Stichter Riedel Blain & Postler, P.A.
41 N. Jefferson Street, Suite 111
Pensacola, FL 32501
jcooke@srbp.com
jcooke.ecf@srbp.com
lhathaway@srbp.com

Scott A. Stichter
Stichter, Riedel, Blain & Postler, P.A.
110 Madison Street, #200
Tampa, FL 33602
sstichter@srbp.com
sstichter.ecf@srbp.com

Trustee
Theresa M. Bender
P.O. Box 14557
Tallahassee, FL 32317
tmbenderch7@yahoo.com
FL62@ecfcbis.com
tbenderassist@yahoo.com
tmbenderch7@ecf.inforuptcy.com

Charles F. Edwards
Assistant United States Trustee
110 East Park Avenue, Suite 128
Tallahassee, FL 32301
Charles.edwards@usdoj.gov
USTPRegion21.TL.ECF@usdoj.gov

                                             /s/ Linda J. Z. Young



                                                2
                  Case 18-10018-KKS   Doc 62   Filed 03/13/18     Page 3 of 3



                                         Linda J. Z. Young
                                         Florida Bar No: 093160
4851-3797-1038, v. 1




                                           3
